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                            EXHIBIT 6
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From:             Lowell, Abbe
To:               nickielumdavis
Cc:               Man, Christopher; Porter, Jennie; "mccorriston@ "
Subject:          ATTORNEY CLIENT PRIVILEGE, ATTORNEY WORK PRODUCT
Date:             Friday, July 24, 2020 11:06:00 AM
Attachments:      Memo re July 23, 2020 Call with DOJ.DOCX


Nickie and Mac,

Here is a file memo of our call yesterday. Today Jennie and I spoke with and will speak again to DOJ
to tell them orally our concerns with various paragraphs. The time difference among us makes it
difficult (as I am also trying to get some time off in the afternoons), but we need to catch up.

Abbe




Abbe David Lowell
Partner
Winston & Strawn LLP
1901 L Street, N.W.
Washington, DC 20036
D: +1
F: +1

200 Park Avenue
New York, NY 10166-4193
D: +1
F: +1
VCard | Email | winston.com
